                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               ASHEVILLE DIVISION
                      CIVIL ACTION NO. 1:20-CV-219-GCM-DCK

 RONALD J. STORTO,                                     )
                                                       )
                 Plaintiff,                            )
                                                       )
     v.                                                )       ORDER
                                                       )
 BILTMORE FARMS, LLC, f/k/a BILTMORE                   )
 FARMS, INC., BILTMORE FARMS, LLC                      )
 EXECUTIVE NONQUALIFIED ‘EXCESS’                       )
 PLAN a/k/a BILTMORE FARMS LONG-                       )
 TERM INCENTIVE COMPENSATION                           )
 PLAN, BILTMORE FARMS, LLC                             )
 AMENDED AND RESTATED                                  )
 PERFORMANCE UNITS PLAN, JOHN                          )
 F.A.V. CECIL, NED CURRAN, H. WILLIAM                  )
 HABERMEYER, JR., CATHERINE CECIL                      )
 TAYLOR, and WILLIAM G. TAYLOR,                        )
                                                       )
                 Defendants.                           )
                                                       )


          THIS MATTER IS BEFORE THE COURT on the “Motion For Admission Pro Hac

Vice and Affidavit” (Document No. 4) filed by Narendra K. Ghosh, concerning David W. Garrison

on October 14, 2020. David W. Garrison seeks to appear as counsel pro hac vice for Plaintiff,

Ronald J. Storto. Upon review and consideration of the motion, which was accompanied by

submission of the necessary fee and information, the Court will grant the motion.

          IT IS, THEREFORE, ORDERED that in accordance with Local Rule 83.1, the “Motion

For Admission Pro Hac Vice and Affidavit” (Document No. 4) is GRANTED. David W. Garrison

is hereby admitted pro hac vice to represent Plaintiff, Ronald J. Storto.


                                           Signed: October 19, 2020




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